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 STATE OF MAINE                                                         SUPERIOR COURT
 YORK, SS.                                                              CIVIL ACTION
                                                                        DOCKET NO.

DANIEL M. MOORE,                                        )
P.O. Box 1876, Wells, Maine 04090-0706                  )
County of York, State of Maine                         )
                                                        )
                            Plaintiff,                  )
V.                                                      )
                                                       )        COMPLAINT
TOWN OF WELLS, and                                      )
County of York, State of Maine,                        )
JONATHAN L. CARTER, individually                       )
And as Town Manager ofTown of Wells,                   )
County of York, State of Maine,                        )
                                                       )
                            Defendants                 )



         Plaintiff Daniel M. Moore seeks damages in this case against defendants Town of Wells

and Jonathan L. Carter in his individual capacity for the following conduct:

                                                 I.         Contract.

         1.       The plaintiff Daniel M. Moore is and has been an employee of the Town of Wells

since May of 1993.

         2.       Defendant Town of Wells is a body corporate and politic under the laws of the

State of Maine.

         3.       During all times relevant to this Complaint defendant Jonathan L. Carter has been

the Manager of the Town of Wells. During all ofthe matters with which this Complaint is

concerned defendant Jonathan L. Carter has acted under color of state law. He is sued in his

individual and representative capacities.

         4.       Defendant Jonathan L. Carter carried out certain illegal policies made by the
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 Town of Wells in addition to taking other illegal acts under color oflaw as appear below.

          5.       During the period of his employment with the defendant Town plaintiff Moore

 rendered services to the Town for which he was entitled to certain hourly pay and certain fringe

 benefits established by law, custom, and contract.

          6.       During all the period of plaintiff Moore's employment the Town maintained a

defined benefit retirement plan by contract with the Maine Public Employees Retirement

System.

          7.       The retirement plan covered plaintiff Moore and was known as a "Participating

Local District Plan" under Maine law. It is attached as "Attachment 1,"six pages.

          8.       As part of the Participating Local District Plan the Town was continuously

required by    con~ract   to make certain contributions of monies to the Maine Public Employees

Retirement System on a regular basis from public funds, the contribution known as the

"employer share." The amount increased as the number of employees increased who elected to

become members of the Plan.

         9.       'I:he Town was also obliged pursuant by state statute and pursuant to a contract

with the Maine Public Employees Retirement System to continuously deduct on a gradual basis

from the plaintiff Moore's paycheck an amount of money known as the "employee share."

         10.      The "employee share" was a small amount of money which was intended to

enable the plaintiff to contribute to his or her retirement on a gradual basis during his or her

working life in order to create financial security after retirement.

         11.      Pursuant to state statute and pursuant to the contract with the Maine Public

Employees Retirement System the Town was continuously required to notify plaintiff Moore of


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 his entitlement to participate in the retirement Plan.


          12.      The above stated provisions of the Plan in the paragraphs eight through eleven

 were intended by the statute, by the Maine Public Employees Retirement System, and by the

 Town to give the plaintiff Moore the benefit of the performance of the promises made by the

Town. He is a third-party beneficiary of the contract.


          13.      The Town did not perform its obligations as set forth above in paragraphs 8, 9, 10,

and 11 above and continuously failed to inform plaintiff Moore of the existence of the Plan, of

his right to participate in it, of his right to have the Town contribute funds on his behalf to the

Maine Public Employees Retirement System, and of his obligation as a participant to have

withdrawn from his pay in periodic installments during his working life an "employee share."


         14.       Defendant Jonathan L. Carter, acting individually and on behalf of the Town,

actively concealed from plaintiff Moore his entitlement to be a member of the Plan.


         15.      As a direct consequence of the above violations of law and breach of the contract

between the Maine Public Employees Retirement System and the TownplaintiffMoore has been

to date deprived of several years of contributions to the Plan owed by the defendant and several

years of "creditable service." With the lost years of "creditable service" the retirement benefit

for the rest of plaintiff Moore's life is substantially less than it would otherwise be. However,

this claim of lost benefits after retirement, however, cannot be determined at this time while he is

still actively employed by the Town, nor until the retirement benefit is actually lost at the time of

his application for retirement benefits, and so is reserved by this Complaint until that time.


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          16.      Because of the failure of the Town to subtract from Moore's pay small amounts

periodically and pay them over to the Maine Public Employees Retirement System, plaintiff

Moore has been deprived of the opportunity to achieve financial security in his old age.


          17.      The Maine Public Employees Retirement System will not credit the plaintiff

Moore with the time that he has served, without an order of this Court that it is obliged to pay the

employer's share.


         18.       WHEREFORE plaintiff Moore demands judgment for breach of contract and for

such damages as may have already resulted from the breach and for specific performance of the

contracts referred to above in allegations 5 through 12 against defendant Town of Wells in its

official capacity and against defendant Carter in his individual capacity.


                                                  II.      Second Claim


                                                           [Fraud]


         19.       Plaintiff Moore repeats and incorporates herein all previous allegations of this

Complaint.


         20.       Defendant Jonathan L. Carter, and other membersofthe Town's administrative

staff fraudulently concealed from him and made false statements to him regarding the Plan at the

beginning      ofpl~intiffMoore's     employment in 1993 and on various occasions thereafter. They

took actions in furtherance of this fraud to cause the plaintiff Moore to believe that the retirement

Plan was not available to him.



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          21.      Specifically, in order to deprive new employees, including the plaintiff Moore, of

 their entitlement to participate in the Plan, the defendants performed the following acts:


                   (a)      They entered into a Collective Bargaining Agreement to exclude from the

Plan any new employees hired after January 1, 1992.


                   (b)      Defendants learned in February of 1992 from the Maine Public Employees

Retirement System that they were obliged to make payments under the Plan for all persons

eligible for membership until by a formal certified vote of the governing body to end the Plan

was taken.


                   (c)      On April23, 1993, the Town amended its Personnel Policy regarding the

Maine Public Employees Retirement System. It attempted to exclude by a vote of the Board of

Selectmen any employee, whether then employed or not, from joining the Plan after July 1,

1993. The Plan continued to operate.


                  (d)      The Maine Public Employees Retirement System again on June 2, 1993,

informed the Town in writing of its obligation to continue to make payments for eligible

employees until such time as the Town voted through formal certified vote to terminate the Plan.


                  (e)      In May and in October of 1993, Jonathan L. Carter informed plaintiff

Moore that he could not be a member of the retirement Plan. This was in connection with his

hiring in May of 1993, and in his hiring for a new position on October 20, 1993.


                  (f)      On September 8, 1994, the defendants signed a collective bargaining

agreement to ex~lude from the Plan anyone hired after January 1, 1992.
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                   (g)      On April29, 1995, the Town meeting voted to end the Plan, but only for

future employees. On June 7, 1995, the Maine Public Employees Retirement System advised the

Town that current employees had an opportunity to elect to remain as contributing members or

withdraw from the Retirement System


                   (h)      On May 24, 1995, defendant Carter signed a contract with the Maine

Public Employees Retirement System to comply with the laws and regulations governing the

PLD.


                  (i)       By the above acts the defendants repeatedly and systematically failed to

inform the plaintiff Moore of what the Town had been informed by the Maine Public Employees

Retirement System, that is: that payments should be made to the Plan by all employees until such

time as the Town's governing body by a formal vote voted to end the Plan and until such

employees voluntarily withdrew their contributions.


         22.      The defendants either knew that the aforesaid representations made to plaintiff

Moore and other prospective employees were false, or acted with reckless disregard of the

representations truth or falsity.


         23.      'fhe purpose of the defendants and their agents was to prevent plaintiff Moore

from becoming a member of the Plan.


         24.      Plaintiff Moore justifiably relied upon the aforesaid representations and this

reliance resulted in plaintiff Moore's de facto exclusion from membership in the Plan.


         25.      The defendants and their agents, and each of them, failed to inform and actively
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 concealed from the plaintiff Moore the Plan and its provisions, although they had a specific duty

 under the law and the contract to disclose the same.


          26.      The defendants and their agents performed the acts described above for the

purpose of reducing membership in the Maine Public Employees Retirement System, and so

avoid the employer contributions.


          27.      As a direct consequence of the actions of the defendants and their agents above

set forth, the defendants deprived the plaintiff Moore of the benefit of membership in the Plan

and so reduced its own expenses.


         28.      Plaintiff Moore discovered the above fraudulent conduct in June of2013.


         29.       WHEREFORE, the plaintiff Moore demands judgment for compensatory and

punitive damages, including costs, interest, fees and attorney's fees and for such other legal and

equitable relief as the Court deems just for these fraudulent violations and misrepresentations

against defendant Carter and the Town of Wells.


                                               III.     Third Claim


                                             [Constitutional rights]

         30.      Plaintiff Moore repeats and incorporates herein all previous allegations of this

Complaint.


         31.      The Maine statute, 5 M.R.S.A. §18252, as it existed from time to time, and a

public contract of which the plaintiff was a beneficiary conveyed a property interest to plaintiff

Moore at all times during his employment with the Town. The property interest was his right to
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 membership in the governmental retirement Plan above described.


          32.      Neither prior to, nor subsequent to the exclusion of the plaintiff Moore from the

 Plan from 1993 .until2013, did the defendants offer or provide to plaintiff Moore any notice,

 decision, or opportunity to be heard concerning their decision to exclude him from the Plan.


          33. Defendants' actions described in the above complaint were not random acts, but

rather the result of a settled and agreed upon policy.


         34. The Town's agents above described were acting under color of state law when they

performed the acts set forth in this Complaint.


         35. As a direct consequence of the acts above alleged plaintiff Moore has been deprived

of the right to membership in the Retirement Plan; the right to have the employer pay the

employer contributions; the right to have the employer withhold and pay over to the Retirement

System the employee contributions; the right to the benefits of the contract between the

Retirement System and the Town as those rights existed from 1999 to the present; the incurring

of legal fees; and the pain and suffering experienced because of the intentional acts of the

defendants.


         36. Defendants have deprived plaintiff Moore of the above statutory rights and

contractual rights that are property rights that may not be taken without due process of law,

according to Article 1, §6-A of the Maine Constitution and the Fourteenth Amendment to the

United States Constitution, made actionable by 42 U.S. C. §1983.


         37.      WHEREFORE, plaintiff Moore prays the Court to order the defendants to pay
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 damages pursuant to 42 U.S. Code §1983; to award attorney's fees; and to fashion such other

 relief as is fair and just and equitable in the circumstances against defendants Carter in his

 individual capacity and against the Town of Wells in its official capacity.


                                              IV.       Fourth Claim

                                                 [Wages Earned]

          38.      Plaintiff Moore repeats andre-alleges and incorporates herein as though set out at

length all the previous allegations of this Complaint.


         39.       Since May 1993 plaintiff Moore provided services to the defendant Town.


         40.      The services provided by the plaintiff Moore were provided with the knowledge

and consent of the defendant Town.


         41.      The defendants were obligated because of the services rendered by plaintiff

Moore to pay to· the Maine Public Employees Retirement System the "employer's share" for all

of the weeks that he worked.


         42.      Defendant Town has not paid these sums referred to in the prior paragraph to the

Maine Public Employees Retirement System, nor paid them to the plaintiff.


         43.      WHEREFORE, plaintiff Moore demands judgment pursuant to 26 M.R.S.A.

§621-A and 26 M.R.S.A. §626-A for these wages earned, together with liquidated damages,

interest, costs, and attorneys fees against defendants.




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                                                V.       Fifth Claim


                                                [Quantum Meruit]

         44.       Plaintiff Moore repeats and re-alleges and incorporates herein as though set out at

length all the allegations in paragraphs above in this Complaint.


         45.       Over the years set forth above in allegation one the plaintiff provided services to

the defendant Town.


         46.      rhe services provided by the plaintiff Moore were provided with the knowledge

and consent of the defendant Town.


         47.      It was reasonable under the circumstances for plaintiff Moore to have expected

payment for his services including all payments required by law, custom, and contract.


         48.      WHEREFORE, plaintiff Moore prays this Court to award the plaintiff the full

value of his services including the employer share which the Town would have paid on his

behalf to the Maine Public Employees Retirement System, and interest due until the full

employee share is paid to the Maine Public Employees Retirement System; and such other

equitable relief that the Court deems fair and just in the circumstances against defendants Carter

in his individual capacity and against the Town of Wells in its official capacity.

                                               VI.      Sixth Claim

                                           [Declaratory Judgment]

         49.      Plaintiff Moore repeats andre-alleges and incorporates herein as though set out at

length all the allegations in paragraphs above in this Complaint.

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          50.      Defendants maintain that the Town legally limited access to its Maine Public

Employees Retirement System, Participating Local District Plan, for employees hired after

January, 1992. ·

         51.      Defendants maintain that the Town limited this access referred to above by a

contract with a Union which began in 1991 and by a Town Ordinance passed in April of 1993,

both before the Town hired the plaintiff. Both the Collective Bargaining Agreement and the

Ordinance appear below:

                  Ordinance: §49-18
                  As of July 1, 1993, the Maine State Retirement System Retirement
                  Plan shall be available only to full-time employees enrolled in the
                  Maine State Retirement System as of that date.


                  Collective Bargaining Agreement: 1991-1993, Article 19.
                  The Maine State Retirement System (MSRS) shall only be
                  available to unit members employed and members of MSRS
                  prior to January 1, 1992.


         52.      Plaintiff maintains that both the collective bargaining agreement provision and the

Town Ordinance are inconsistent with the state statute governing Participating District Plans of

the Maine Public Employees Retirement System and that they are illegal as applied to the

plaintiff because at the time that the Town adopted them and enforced them against the plaintiff,

the Town had not terminated its Participating Local District Maine Public Employees Retirement

System Plan.

         53.      This case presents an actual case in controversy because the defendants presently

maintain the above defenses which limit the plaintiffs access to the Participating Local District

Plan.


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          54.      Adjudication of this dispute will settle the validity of the Town's collective

 bargaining provision and Town Ordinance and remove an uncertainty in this case.

          55.      WHEREFORE, pursuant to 14 M.R.S.A. §5957 and §5953, and Maine Rule of

 Civil Procedure 57 plaintiff requests the Court to (1) issue a Declaratory Judgment that the

Ordinance and the Collective Bargaining provision are unenforceable as applied to plaintiff; and

(2) to Order a speedy hearing of this Declaratory Judgment court.



Dated this 3rd day of August, 2015, in Portland, Maine.


                                                       Respectfully submitted,
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                                                                    . v 4 t · .j

                                                               /Vf  V
                                                          n ·F. Fontaine Bar No. 424
                                                       Attorney for Plaintiff Daniel M. Moore

                                                       Law Offices of Donald F. Fontaine
                                                       97 India Street
                                                       Portland, Maine 0410 1
                                                       207-879-1300
                                                       dff@fontainelaw.com
DFF/ccf




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                                             AGREEMrnNTBE~EN


                                  THE MAINE STATE RETIREMENT SYSTH'ld i<· ·          ~ :_ ; j ,, {· ;.~; •..



                                                           AND                      r(dY 30 II 32 JH rqr.
                                                           AND                      ffdY 30 II 32 Afi '35

                                              THE TOWN OF WELLS


                                               FOR PARTICIPATION IN
                       THE DEFINED BENEFIT PLAN (''THE PLAN") UNDER
                 THE CONSOLIDATED PLAN FOR PARTICIPATING LOCAL DISTRICTS



       This Agreement js entered into between the Maine State Retirement System and the Town of Wells (employer
    ~      POl 07) (hereinafter the "PLD"), a "participating local district" as defined by
    Section 1, Subsection E of Chapter 803 of the Rules of the Board of Trustees of the Maine State Retirement
    System (hereinafter the "MSRS Rules") and 5 MRSA Section 17001, Subsection 27, for the purpose of providing
    for the participation of the PLD 's employees in the defined benefit plan (also known as "The Plan" and defined by
    Section 1, Subsection F of Chapter 803 of the MSRS Rules) of the Consolidated Retirement Plan established by
    Chapter 803 of the MSRS Rules in accordance with 5 MRSA, Chapter 427.

    1. Election To Join

       The PLD, by resolution or order of its governing body, has elected to join"The Plan" as defined by Section I,
       Subsection F of Chapter 803 of the MSRS Rules subject to the provisions of 5 MRSA, Chapter 427 and
       Chapter 803 of the MSRS Rules. Membership under The Plan for the employees of the PLD is governed by
       Section 3 of Chapter 803. All benefit provisions of Chapter 803 are applicable to employees who become
       members under The Plan, subject to elections made by the PLD as specified in this Agreement.

    2. Service Retirement Plans

       For its regular service retirement plan, the PLD elects to join Regular Plan A as described in Chapter 803,
       section 7, subsection A.

       In addition, the following special service retirement plan[s] are elected:

       Special service retirement plan 3 as described in Chapter 803, Section 8, Subsection E is elected for the PLD's
       police officers.

       Special service retirement plan 3 as described in Chapter 803, Section 8, Subsection E is elected for the PLD's
       firefighters.


                                                                                                               Attachment 1
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    .. .3 .- yil.te of Participation

            Participation of the PLD and its employees in The Plan begins either ~n (1 i !W'r ~ i~ediately following the
            date on which this Agreement is signed by the Executive Director ofthe'iQ.ill.iae'.st4~e. Retirement System and
            the authorized representative of the PLD or on (2) the date that Th<ffff~,oe~ into ~peration as provided by
            b-,Q.a,mw,J\QJ.-~OO~Q,lJJr~JJp§t~9.ti9JL CLWlilfll.m'~t}itt!(, i§Jiltt(f, ... ~ ..; 14Y'j/f"w~~~ ..:t?v i.!Jj.!,tJ.(,vu ~.- l''""~w.- "J
            Chapter 803, Section 2, Subsection C, whichever date is later.                                I 32 iJJi '95

         4, Election To Offer Benefits Wlder Article 3-A to Cwrent Disability Recipients

            The PLD elects not to adopt 5 MRSA Section 18534, thereby not allowing its former employees who are
            recipients of disability retirement benefits under prior law the option of being governed by disability retire-
            ment provisions applicable to members under the Plan (5 MRSA, Chapter425, Subchapter V, Article 3-A). A
            PLD choosing not to adopt this provision at the time of this Agreement may adopt it at a future date and amend
            this Agreement at that time.

        5. Compliance with'Statutes and MSRS Rules

            The PLD and the Maine State Retirement System agree to comply with all requirements of 5 MRSA, Part 20,
            and of the MSRS Rules that are applicable to The Plan.



                                                                                ~ STATEf?I'IREMENT SYSTEM
                                                                               · tVtd IJ.Jv~
                                                                                S gnature of the Executive Drrector or the Drrector's Designee
    I

        Jonathan L. Carter                                                      Claude R. Perrier
        Town Manager                                                            MSRS Executive Director
               ._11---:;. t· <?s·--·
        Date Signed                                                             Date Signed




        -----------------------------------------
        For MSRS Office Use Only:


        - - - - - - - - - - - - - - - - - [PLD Name)                                               Employer Code _ _ _ [Code)


        Effective Date of this Agreement: - - - - - - - - - - - -
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Office of Town Manager




                                                     March 12, 1968


                    Mr. E.L. Walter, Executive Secretary
                    Maine State Retirement System
                    Augusta, Maine 04330
                    Dear Mr. Walter,

                                    The Town of Wells, at the a11nual Town
                    ~eting  held March 9,1968, voted to accept for tbe
                    employees of Wells a retirement program .. coverage
                    under the Maine State Retirement System,
                                       Money was appropriated for member-
                    ship only.
                                    Please forward us the necessary forms
                    or applications. Also, would it be possible to have a
                    representative meet with the employees to further
                    explain this program?    If so, please advise as to
                    date and time.

                                                       Very truly yours,
                                                              ~~-_J~__,
                                                      i.~    ~'·'~---
                                                             YTON R, ll'RAGOON,
                    CRB/rws                                  Town Manager
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                                               :~Jells,~
     Office of Town Manager




                                                      March 18,1968


                          Mr. Edward L. Walter, Executive Secretary
                          Maine State Retirement System
                          Augus.ta, Maine 04330
                          Dear Mr. Walter:
                                          In reply to your letter of March 13,
                          1968 as to the effective date and type of coverage:
                          the effective date of coverage was set as Jan. 1,
                          i968; and the Town is accepting only membership
                          service.
                                             Employees will pay on earnings
                          from January 1, 1966.

                                          Two available dates for meeting with
                          the employees are MOnday, Karch 25~b 9r Monday, April
                          1st, 1968, at 7:30 P.M. at the Wells High School.
                                           If you have either of these dates
                          open, please advise.
                                                                Very truly yours,

                                                                 !!L~·
                                                                 '*T;l_~ll R.~RAGDON
                         CRB/rwv..                      rfl-
                                                                       ToW!l Manager


                                         - I,
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       Annual Town Meeting, March 9, 1968                               -13
                                            ~
~     .Article 54,:..- Ao          To $ee   if the TbW'n 'W':Ul       vo:'te   tft'>'   participate wi'th municipal employees in
       a    retite~nent;. p-l:t;t~. CM.~ine. ·Sti:it~ Ret';i:i:¢.h!en;:~ ·Sygteiii~ .. on ·a   SO%· matching basis.

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                                                               ·
      F. Higgins s.aid no recommendation had been made by the Budget Committee as they had been
          waiting for a figure. They now recoll'llllended ''YES"'.
      R. Batchelder moved to accept the recommendation of the Budget Committee • It was seconded
          by A. Perkins and so voted. to accept the entire article as recommended.


      Article
                    18
                --roA'aee if the Towrt will vote to authorize the Selectmen to sell the 1938 Dia-·
      mond T. Fire Truck, replaced by the 1967 Ford, for use of Wells Corner Hose Company, and
      to determine where funds received are to be credited.

                           Budget Committee recommends proceeds of sale be credited to Unappropriated
                               Surplus Account.

                    On motion of F.        Howe~ seconded by A. Perkins, it was v.oted to follow the
                            recolUlllendation of the Budget C'()mtnftt.ee ..

             B. To see if the Town will vote tb authorize t!le Wells Corner Hose Co. and Select-
     men to sell the 1938 Diamond T. .Eire truck, proce~ds of which would be applied to the pur-
     chase of a two-way radio for the new fire truck.

                         Budget Committee recommends NO.

                        On motion of F. Howe and seconded by A. Perkin$, it was voted to indefinitely
                            postpone Article lB.-B. - .. coRRECTION- to follow the recommendation of the
                            Budget Co111mit tee.

    Article 19-- To see if the Town will vote to raiSe and appropriate the sum of Thirty-five
    Hundred Dollars ($3500.00) to purchase a boat and other necessary equipment for the Wells
    Beach Hose Co. to be used for saving life and property in the town.

                        Budget Committee recottlmends NO.

                          On motion of F. ilowe, seconded by A. Perkins, it was voted to follow the
                              recommendation of the Budget Connnittee.

    Article 20-'- To see if the Town will vote t:o rS,is~ and appropriate the sum of Seven Hun-
    dred Dollar~ ( $700. 00) to purchase a: DELUGE NOZZLE for the Wells Seach Hose Co.

                        Budget Committee recomtnends,NO.

                         It was moved, seconded and duly voted to follow the recommendation of the
                            Budget Committee.

    Article 2HFo see if the Town will vote to ra:l.s~ art<:! ~ppropriate a s.ufficient sum of money
    for gravel to grape and level the back y~rd (lC tl:te W.ells Beach Fire Station so as to pro-
    vide better parking faCilities.

                          Budget Coillillittee reconunends NO

                        lt was moved, seconded and duly voted to follow the recommendation of the
